       CERTIFICATE OF THE CLERK OF THE SUPREME COURT
                   OF THE STATE OF NEVADA



       I, Elizabeth A. Brown, Clerk of the Supreme Court of the State ofNevada, do hereby certjfy
that AR! ROTHMAN (Bar No. 15806) was on the 7th day of MAY, 2021 duly admitted as an
attorney and counselor at law to practice in all the courts of the State of Nevada; and that the
Supreme Court of Nevada is the highest court in this state;

      I FURTHER CERTIFY that the said'that ARI ROTHMAN in good standing; and that his
name now appears on the Roll of Attorneys in this office.

                                                IN TESTIMONY WHEREOF, I HAVE HEREUNTO SET MYHAND AND
                                                AFFIXED THE OFFICIAL SEAL OF SAID SUPREME COURT, AT MY
                                                OFFICE IN CARSON CITY, NEVADA, THIS 11th DAY OF MARCH,
                                                2025.

                                                ELIZABETHA. BROWN, CLERK
                                                SUPREME COURT
                                                STATE OF  VADA



                                                C efDeputy Clerk
